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September 9, 2024

VIA ECF

The Honorable Ona T. Wang
United States District Judge
United States District Court for the Southern District of New York
500 Pearl Street, Room 1920
New York, New York 10007

Re:       Authors Guild, et al. v. OpenAI, Inc., et al., No. 23-cv-08292 (SHS)(OTW) and
          consolidated cases: 23-cv-10211 (SHS)(OTW), 24-cv-84 (SHS)(OTW); The New York
          Times Co. v. Microsoft Corp, et al. 23-cv-11195 (SHS)(OTW); Daily News, LP, et al. v.
          Microsoft Corp., et al. 24-cv-3285 (SHS)(OTW)

Dear Judge Wang:

We represent defendant Microsoft Corporation in the above-referenced matters. Pursuant
to the Revised Standing Order M10-468, we write respectfully to request permission to bring
the electronic devices listed below into the Courthouse for the In-Person Status Conference
scheduled for September 12, 2024 at 10:00 a.m. See Scheduling Order filed August 29, 2024
at Docket 190.

                               Attorney                      Devices
                1. Jeffrey S. Jacobson             Cell phone, tablet
                2. Jared B. Briant                 Cell phone, laptop
                3. Annette L. Hurst                Cell phone, tablet
                4. Laura Najemy                    Cell phone, laptop or tablet
                5. Lisa T. Simpson                 Cell phone, laptop or tablet
                6. Srecko Vidmar                   Cell phone
                7. Nicholas Manheim                Cell phone, laptop or tablet

A proposed order is attached hereto as Exhibit A.
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The Honorable Ona T. Wang          -2-                      September 9, 2024


Very truly yours,




Jared B. Briant


Attachment
